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UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NEW YORK                            ELECTRONICALLY FILED
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DEIRDRE MACNAMARA, et al.,

                              Plaintiffs,
                                                             No. 04-cv-9216 (RJS)
          -v-                                                      ORDER

THE CITY OF NEW YORK, et al.,

                              Defendants.


RICHARD J. SULLIVAN, District Judge:

         Now before the Court is Plaintiffs' motion for final approval of (1) the class action

settlement; (2) the settlement distribution plan; and (3) Plaintiffs' attorneys' fees. (Doc. No.

541.)    For the reasons set forth on the record at the July 11, 2014 fairness hearing, IT IS

HEREBY ORDERED THAT the motion is GRANTED.

SO ORDERED.

Dated:          July 14, 2014
                New York, New York


                                                   UNITED STATES DISTRICT JUDGE
